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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1668V
                                         UNPUBLISHED


    DAWN HALLEY,                                              Chief Special Master Corcoran

                         Petitioner,                          Filed: June 9, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Damages Decision Based on Proffer;
    HUMAN SERVICES,                                           Influenza (Flu) Vaccine; Shoulder
                                                              Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for petitioner.

Mark Kim Hellie, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION AWARDING DAMAGES 1

      On October 29, 2018, Dawn Halley filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left Shoulder Injury Related to
Vaccine Administration (SIRVA) as a result of an influenza (“flu”) vaccination
administered on October 15, 2016. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On April 28, 2020, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for a left SIRVA. On June 9, 2020, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded $68,491.26.
Proffer at 1-2. Specifically, Petitioner is awarded $67,500.00 for pain and suffering and
$991.26 for unreimbursed out-of-pocket medical expenses. Id. In the Proffer,

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access
to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Respondent represented that Petitioner agrees with the proffered award. Id. Based on
the record as a whole, I find that Petitioner is entitled to an award as stated in the
Proffer.

     Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $68,491.26 in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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         In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS


DAWN HALLEY,

                     Petitioner,
                                                        Case No. 18-1668V (ECF)
v.                                                      CHIEF SPECIAL MASTER
                                                        CORCORAN
SECRETARY OF HEALTH
AND HUMAN SERVICES,

                     Respondent.


           RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On October 29, 2018, petitioner filed a petition seeking compensation under the

Vaccine Act for a shoulder injury related to vaccine administration (“SIRVA”) in her

upper left arm that she claimed occurred following an influenza (“flu”) vaccine

administered on October 15, 2016. On April 27, 2020, respondent conceded that

entitlement to compensation was appropriate under the terms of the Vaccine Act.

Thereafter, on April 28, 2020, the Chief Special Master issued a Ruling on Entitlement,

finding that petitioner was entitled to vaccine compensation under the Vaccine Act.

I.     Item of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be

awarded $67,500.00, for pain and suffering, and $991.26, for unreimbursed out-of-pocket

medical expenses. This amount represents all elements of compensation to which

petitioner is entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.
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II.     Form of the Award

        The parties recommend that compensation provided to petitioner should be made

through a lump sum payment described below, and request that the Chief Special

Master’s decision and the Court’s judgment award the following: 1 a lump sum of

$68,491.26 in the form of a check payable to petitioner. Petitioner agrees.

        Petitioner is a competent adult. Evidence of guardianship is not required in this

case.

                                                  Respectfully submitted,

                                                  JOSEPH H. HUNT
                                                  Assistant Attorney General

                                                  C. SALVATORE D’ALESSIO
                                                  Acting Director
                                                  Torts Branch, Civil Division

                                                  CATHARINE E. REEVES
                                                  Deputy Director
                                                  Torts Branch, Civil Division

                                                  HEATHER L. PEARLMAN
                                                  Assistant Director
                                                  Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move
the Court for appropriate relief. In particular, respondent would oppose any award for
future medical expenses, future pain and suffering, and future lost wages.
                                              2
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                                         s/ Mark K. Hellie
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DATED: June 9, 2020




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